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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

        v.
                                                                21-cr-476 (APM)
SHANE JASON WOODS,


        Defendant.


              GOVERNMENT’S MOTION TO REVOKE DEFENDANT WOODS’
                       RELEASE PENDING SENTENCING

         The United States, by and through its attorney, the United States Attorney for the District

of Columbia, hereby moves this Court pursuant to 18 U.S.C. § 3143(a) to issue a warrant for the

arrest of defendant Shane Jason Woods (hereinafter, “Defendant Woods”) for violations of his

release pending sentencing, to revoke his pre-trial release order, and detain him pending

execution of his sentence. On November 8, 2022, the Defendant Woods was arrested on state

charges for negligent homicide. Based on this new criminal conduct, Defendant Woods poses a

danger to the safety of others and his release should be revoked.

   I.         BACKGROUND

         On June 21, 2021, a magistrate judge in the District of Columbia issued an arrest warrant

for Defendant Woods for multiple violations, including 18 U.S.C. §§ 111(a)(1), 113(a)(4),

231(a)(3), 1752(a)(1), (2), and (4), and 40 U.S.C. § 5104(e)(2)(D) and (F). Defendant Woods

was arrested on June 24, 2021, in the Central District of Illinois. On July 6, 2021, a magistrate

judge in the District of Columbia issued an order releasing Defendant Woods subject to certain

conditions, consistent with 18 U.S.C. § 3142, including that he not violate any federal, state, or

local law while on release. See ECF 8 at 1.
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          On July 16, 2021, the grand jury returned an eight-count indictment charging Defendant

Woods with 18 U.S.C. §§ 111(a)(1), 113(a)(4) and (5), 231(a)(3), 1752(a)(1), (2), and (4), and 40

U.S.C. § 5104(e)(2)(F). See ECF 9. On October 29, 2021, the grand jury returned a superseding

indictment that updated the charging language of certain counts but made no other substantive

changes. See ECF 19. On September 9, 2022, Defendant Woods pleaded guilty to Counts Two

and Three of the superseding indictment. See ECF 37. As part of his plea agreement, the

government agreed to not seek a change in his release conditions. See Exhibit 1 at ¶ 9. However,

Defendant Woods and the government agreed that “The Government may move to change

[Defendant Woods’] conditions of release, including requesting that your client be detained

pending sentencing, if your client engages in further criminal conduct prior to sentencing . . . .”

See id.

          On November 8, 2022, Defendant Woods was arrested at the Memorial Medical Center

in Springfield, Illinois, on charges of Reckless Homicide (felony), Aggravated Driving Under the

Influence Causing Death (felony), Driving Under the Influence (misdemeanor), and Aggravated

Fleeing and Eluding (felony). See Exhibit 2. He has been in custody on the state charges since

November 8, 2022, in Sangamon County, Illinois, subject to a $2,000,000 bond. On November

16, 2022, the Sangamon County grand jury indicted Defendant Woods for First Degree Murder

(felony), Aggravated Driving Under the Influence of Alcohol (felony), and Aggravated Fleeing

and Eluding a Peace Officer (felony). The government has obtained the police reports underlying

Defendant Woods’ arrest for these state charges. See Exhibit 2. These reports state that on

November 8, 2022, Defendant Woods was stopped in his vehicle by law enforcement. During the

stop, the officer detected the odor of an alcoholic beverage on Defendant Woods’ breath and

Defendant Woods then fled the officer in his vehicle. Defendant Woods traveled the wrong way
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on the interstate before striking three vehicles, causing the death of the driver of one vehicle and

great bodily harm to two others in a third vehicle. Defendant Woods was transported to the

hospital and hospital staff advised that Woods had a .177 blood alcohol concentration, almost

double the legal limit in Illinois. While at the hospital, the police officer overheard Defendant

Woods state to a family member that he intended to crash his vehicle into a semi-trailer. See

Exhibit 2.

   II.       ARGUMENT

         Defendant Woods’ post-plea conduct demonstrates he is a danger to the community and

this Count should revoke his release. Under 18 U.S.C. § 3143(a), a person who has been found

guilty of an offense and who is awaiting execution of a sentence shall be detained “unless the

judicial officer finds by clear and convincing evidence that the person is not likely to flee or pose

a danger to the safety of any other person or the community if released under section 3142(b) or

(c).” Defendant Woods has pled guilty to committing two acts of violence and he is no longer

presumed innocent. His actions on November 8, 2022, are abhorrent, violent, and demonstrate he

is a danger to the community. Additionally, Defendant Woods has violated the terms of this

release by committing three felonies, including First Degree Murder. See ECF 8 at 1.
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    III.      CONCLUSION

           Wherefore, the government respectfully requests that this Court issue an arrest warrant

for Defendant Woods pursuant to 18 U.S.C. § 3143(a), for violating his release, revoke his pre-

trial release order, and detain him pending sentencing in this matter.

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                                                Respectfully submitted,

                                                MATTHEW M. GRAVES
                                                United States Attorney
                                                D.C. Bar No. 481052


                                                By:     /s/ Brian Brady
                                                        Brian Brady
                                                        Trial Attorney, Department of Justice
                                                        DC Bar No. 1674360
                                                        1301 New York Ave. N.W., Suite 800
                                                        Washington, DC 20005
                                                        (202) 834-1916
                                                        Brian.Brady@usdoj.gov




Dated: November 16, 2022


Exhibits:
   1. Plea agreement between Defendant Woods and government, dtd September 8, 2022.
   2. Sangamon County Sheriff’s Office Field Booking and Probable Cause Statement, dtd
       November 8, 2022.
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                                CERTIFICATE OF SERVICE

        On this 16th day of November, 2022, a copy of the foregoing was served on counsel of
record for the defendant via the Court’s Electronic Filing System.



                                           /s/ Brian Brady
                                           Brian Brady
                                           Trial Attorney
